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Mark J. Geragos (SBN 108325)
GERAGOS & GERAGOS, APC
644 South Figueroa Street

Los Angeles, CA 90017-3411
(213) 625-3900

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

GONDOLA ADVENTURES, INC., HERNANDEZ
PRODUCTIONS, INC., et al.
Plaintiff(s),
Vv.
GAVIN NEWSOM, XAVIER BECERRA, SONIA Y.
ANGELL, ERIC GARCETTI, BARBARA FERRER, et al.
Defendant(s).

PLEASE TAKE NOTICE: (Check one)

CASE NUMBER
2:20-cv-03789-CBM-MAA

 

 

NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL
PROCEDURE 41(a) or (c)

W This action is dismissed by the Plaintiff(s) in its entirety.

O The Counterclaim brought by Claimant(s)

is

 

dismissed by Claimant(s) in its entirety.

O The Cross-Claim brought by Claimants(s)

is

 

dismissed by the Claimant(s) in its entirety.

O The Third-party Claim brought by Claimant(s)

is

 

dismissed by the Claimant(s) in its entirety.

O ONLY Defendant(s)

 

 

is/are dismissed from (check one) O Complaint, 0 Counterclaim, 0 Cross-claim, 0 Third-Party Claim

 

brought by

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

 

May 18, 2020
Date

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NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive

pleading or prior to the beginning of trial.

 

CV-09 (03/10)

NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
